                    IN THE UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF WISCONSIN




WILLIAM FEEHAN,


                   Plaintiff,
                                                   CASE NO. 2:20-cv-1771-PP
                   v.
WISCONSIN ELECTIONS COMMISSION,
and its members ANN S. JACOBS, MARK
L. THOMSEN, MARGE BOSTELMAN,
JULIE M. GLANCEY, DEAN KNUDSON,
ROBERT F. SPINDELL, JR., in their official
capacities, GOVERNOR TONY EVERS, in
his official capacity,

                   Defendants.


_____________________________________________________________________________

                  PLAINTIFF’S OPPOSITION TO DEFENDANT’S
                      MOTION FOR SANCTIONS (ECF 97)
                     EVIDENTIARY HEARING REQUESTED




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       Plaintiff William Feehan, by and through undersigned counsel, respectfully requests that

this Honorable Court deny Defendant Evers’ Motion for Sanctions because a request for sanctions

based upon a well-plead, factually supported civil lawsuit is patently without merit.          The

Defendant’s untimely request for sanctions under 28 U.S.C. § 1927 is barred as a matter of law

and should be struck for being untimely and without jurisdiction. Plaintiff hereby incorporates its

Motion to Strike (ECF 105), Memorandum in support of, and Reply Memorandum in further

Support of this motion.

       The judicial system provides an avenue for attorneys to represent clients to bring forth and

attempt to resolve legal disputes. In this case particularly, Defendant Evers, who admits that he

reviewed the complaint and opposed it with research and diligence, found, by his own arguments,

that the legal claims were pled with particularity. As Defendant Evers makes clear, Defendant and

counsel had to review dozens of documents of supporting evidence that were provided in the

original complaint and the amended complaint to support each legal claim.

       While the court dismissed the case based on standing and laches and later vacated that

decision as moot at the direction of the Seventh Circuit Court of Appeals, a determination on

standing and laches or mootness bears no impact on the validity of the lawsuit, particularly when

the case is dismissed without discovery or any evidentiary hearing addressing questions of fact.

As a fundamental matter, Plaintiff’s case was dismissed on procedural grounds at the motion to

dismiss stage – not based on summary judgment, not after discovery, not after witnesses were

examined, and certainly not after any evaluation of the evidence presented before the court.

       Plaintiff disagreed with the court’s determination on both standing and laches, so it was in

Plaintiff’s purview and right to seek immediate appeal of the case. Cases are routinely dismissed

on procedural grounds and further considered on appeal. Setting a precedent to sanction an



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attorney whose case is dismissed at the district court level for procedural grounds is a grave abuse

of the disciplinary process.

       In the event the court does not strike Defendant’s motion, Plaintiff requests a plenary

adversarial process and scheduling order, including an Evidentiary Hearing on the Sanctions

Motion by Defendant, requiring Defendant Evers to present actual evidence supporting his motion

and permitting Plaintiff to examine and rebut any evidence he may be able to marshal.

                                 Statement of Facts

       Defendant begins his argument with a statement that “Plaintiff and his counsel delayed in

filing this case for a period of four weeks after Wisconsin’s Presidential Election…” (ECF 98, p.

3). This statement appears in support of Defendant’s motion for sanctions filed on March 31,

2021, where Plaintiff filed its initial complaint on December 1, 2020, amended once by right, on

December 3, 2020, and which this Court dismissed only nine days later, on December 9, 2020 (See

ECF 83).

       As Defendant did not bring any motion or argument for any sanctions during the time this

case was before this Court, he has delayed far past any opportunity for relief in this case. It has

been 112 days between the Order of Dismissal in this case on Defendant’s motion and the filing

of Defendant’s motion for Sanctions on March 31, 2021.

       Moreover, on February 1, 2021, the Seventh Circuit in dismissing the appeal on

Defendant’s motion with Plaintiff’s consent found the case moot and ordered it remanded with an

order to vacate the court’s prior decision and to dismiss the case as moot. (See CTA7 No. 20-

3448, Dkt. 16; ECF 95). Two weeks later, this Court complied and vacated its decision and

dismissed this case as moot on February 15, 2021. (ECF 95). The Supreme Court denied

Plaintiff’s appeal on March 1, 2021 without opinion. SCOTUS Case No. 20-859.


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                                   Legal Argument

       I.       Plaintiff’s Motion is Without Jurisdiction and is Untimely

       It has been two months since the Seventh Circuit ordered this case dismissed as moot and

remanded it with instructions to vacate the court’s prior decision. Nonetheless, during those two

months, the Defendant made no complaint or request for sanctions, not a peep, not a single

application implicating further relief sought since the February 1, 2020 order to vacate the case,

although the Seventh Circuit’s dismissal was made pursuant to the Defendant’s motion, with

Plaintiff’s immediate consent. Under controlling Seventh Circuit precedent, Defendant’s motion

is out of time. Overnite Transp. Co. v. Chi. Indus. Tire Co., 697 F.2d 789, 793-794 (7th Cir. 1983).

       Moreover, Defendant cites to, but fails to explain, that an earlier Supreme Court case, White

v. N.H. Dep’t of Emp. Sec., preceded the Seventh Circuit’s Overnite decision, and that it

specifically addressed an attorneys’ fees application proceedings in vindication of civil rights, 42

USCS § 1988.      White v. N.H. Dep’t of Emp. Sec., 455 U.S. 445, 454 (1982). It therefore is

irrelevant to the issues presented here.

       II.      The Legal Standard for Sanctions under §1927

       Defendant opens the argument for §1927 sanctions against Plaintiff with a cite to Knorr

Brake Corp. v. Harbil 738 F.2d 223 (7th Cir. 1984), but, in that case, the Seventh Circuit held, in

citing to its earlier precedent, Overnite Transportation Co.:

       Where, as here, counsel’s alleged misconduct was the filing and arguing of a
       claim, it is not sufficient that the claim be found meritless; the claim must be
       without a plausible legal or factual basis and lacking in justification.

(Id. at 226-227 (emphasis added) (citing Overnite Transportation Co., 697 F.2d at 794-95; see Tuf-

Flex Glass v. NLRB, 715 F.2d 291, 298 (7th Cir. 1983))).

       The Circuit Court of Appeals therein held that “[t]hus, before a court may assess fees


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under section 1927, the attorney must intentionally file or prosecute a claim that lacks a

plausible legal or factual basis.” Id. at 227 (emphasis added).

           Also, Defendant Evers cites a more recent Seventh Circuit decision that affirmed a denial

of sanctions while affirming the granting of summary judgment, and in doing so found that “…the

[] claims in the complaint were not unfounded and Joyce did not unreasonably prolong the

proceedings in contesting the “unclean hands” defense.” Grochocinski v. Mayer Brown Rowe

& Maw, LLP, 719 F.3d 785, 800 (7th Cir. 2013) (emphasis added).

           The Court of Appeals reiterated the standard for the court’s inherent power to impose

sanctions but warned against its abuse: “The federal courts have the inherent power to impose a

wide range of sanctions upon parties for abusive litigation. This inherent power, however, is

limited to “cases in which a litigant has engaged in bad-faith conduct or willful disobedience

of a court’s orders.” Id. at 799 (citing Chambers v. NASCO, Inc., 501 U.S. 32, 47 (1991); see also

Mach v. Will County Sheriff, 580 F.3d 495, 501 (7th Cir. 2009)) (emphasis added).

           It appears that Defendant’s entire argument seeking sanctions under § 1927 relies on the

erroneous idea that the Plaintiff moved too quickly – rather than applying the standard of seeking

to delay the case and multiply the proceedings. Defendant further cites a 1987 case from the Sixth

Circuit, In re Ruben 825 F.2d 1225 (6th Cir. 1987), to argue the legal standard on § 1927 motions

and to support Defendant Evers’ allegation that the Circuit Court of Appeals decision in Overnite

“is out of step 1.” However, Defendant fails to explain what that case actually held.

           In In re Ruben, 825 F.2d 977 (6th Cir. 1987), the Sixth Circuit reversed an award of

sanctions due to the failure of the District Court to adequately correlate discrete acts by plaintiff’s

counsel to corresponding increases in defendants’ costs, expenses, and fees. 825 F.2d at 990-91.



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    (See ECF 98, Defendant Evers’ Mot. at p. 26).

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The Court reached this conclusion even though the complaint stated on its face that it was filed

one day after the statute of limitations ran, and even though substantive litigation in the case

spanned nearly four years. Id. at 980-81, 987-88. By contrast, here, Plaintiff’s case lasted only

nine days. Evers’ reliance on In re Ruben is obviously misplaced.

       Further, the United States Court of Appeals for the Sixth Circuit recently reiterated that

legal standard for imposing sanctions under 28 U.S.C. § 1927 when it held:

       Yet absent bad faith, we decline to impose sanctions against this trial attorney
       whose legal argument on appellate procedure—though flawed—might conceivably
       be characterized as that of a reasonably zealous advocate. Cf. Mys, 736 F. App’x at
       117-18 (“Section 1927’s purpose is to ‘deter dilatory litigation practices and to
       punish aggressive tactics that far exceed zealous advocacy.’”) (quoting Red Carpet
       Studios Div. of Source Advantage, Ltd. v. Sater, 465 F.3d 642, 646 (6th Cir. 2006)).
       In our view, sanctions should generally be reserved only for “truly egregious cases
       of misconduct.” (Williams v. Shelby Cnty. Sch. Sys., 815 F. App’x 842, 846 (6th
       Cir. 2020) (quoting Ridder, 109 F.3d 288, 299 (6th Cir. 1997)).

Saenz v. Kohl’s Dep’t Stores, Inc., 2020 FED App. 0618N (6th Cir. 2020), 2020 U.S. App. LEXIS

34753, *11, 15, 2020 WL 6393335.

       Moreover, the Supreme Court observed in considering a similar statute providing for

recovery of attorney’s fees for frivolous claims:

       [I]t is important that a district court resist the understandable temptation to engage
       in post hoc reasoning by concluding that, because a plaintiff did not ultimately
       prevail, his action must have been unreasonable or without foundation. This kind
       of hindsight logic could discourage all but the most airtight claims, for seldom can
       a prospective plaintiff be sure of ultimate success.

Christiansburg Garment Co. v. EEOC, 434 U.S. 412, 421-22 (1978).

       There, the Supreme Court affirmed the denial of attorney’s fees where, as here, the

defendant prevailed on “an issue of first impression requiring judicial resolution.” Id. at 424.

(internal quotations omitted).

       Defendant Evers admits that the basis for his demand for sanctions was the filing of



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motions as the initial responses to Plaintiff’s Amended Complaint. Specifically, he noted “the

complexity of the issues” – which necessitated 2 his attorneys’ fees claim of $106,780 for a team

of lawyers. 3 His complaint then about the length and complexity of the initial pleading belies the

assertion that it was baseless or dilatory. Plaintiff’s initial pleading was not dilatory because it

was filed within two days of the certification of Biden’s victory by the Governor, when Wisconsin

became the last of six states to officially declare victory for Joe Biden late that day. 4

           Defendant’s motion can easily be disposed of because he admits that Plaintiff’s counsel

have not multiplied these proceedings. The Defendant has not been required to file numerous

pleadings in this case. The case was filed December 1, 2020 and dismissed by this court only nine

days later on December 9, 2020. Further, if as suggested, Plaintiff’s claims were so “frivolous”

as a matter of law, then the Defendant would not have required to undertake “significant time” for

a “team of attorneys” to address the “complexity of the issues,” in mounting their opposition.

III.       The Plaintiff’s Claims Had A Plausible Legal or Factual Basis.

           a.       Plaintiff’s Filing was Legally Supported.

           As a fundamental matter, the case that Plaintiff’s counsel filed was dismissed on procedural

grounds at the motion to dismiss stage– not based on summary judgment, not after discovery, not

after witnesses were examined, and certainly not after any evaluation of the evidence presented

before the court. Indeed, a Plaintiff need only allege “enough facts to state a claim to relief that is



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  § 165.25 (1m) Wis. Stats. undermines Evers’ entire argument. Defendant Evers had no need whatsoever to employ
outside counsel. The Wisconsin Attorney General’s office is well-qualified and has sufficient resources to defend
the Governor in civil cases.
3
    (See ECF 98, Def. Mot. at p. 26)
4
 Mark Niquette and Amanda Albright, Wisconsin Becomes Last Contested State to Confirm Biden Won,
BLOOMBERG (Nov. 30, 2020), https://www.bloomberg.com/news/articles/2020-11-30/wisconsin-becomes-last-
contested-state-to-confirm-biden-won.


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plausible on its face.” Matrixx Initiatives, Inc. v. Siracusano, 563 U.S. 27, 46 (2011) (citing Bell

Atlantic Corp. v. Twombly, 550 U.S. 544, 570 (2007).

       On December 9, 2020, the court entered an order dismissing the case. (ECF 83) The court

determined:

       •       The plaintiff brought the case in federal court, though state law governed
               the election process.
       •       The court had no authority to grant plaintiff the relief he requested.
       •       Plaintiff did not have standing to sue.
       •       Most of the relief the plaintiff requested was moot.
       •       Plaintiff sued defendants who were either “not suable under section 1983 or
               [were] protected by Eleventh Amendment immunity.”

(Order, ECF 83, p. 32-33).

       While the Defendant describes Plaintiff’s suit as “patently false” and “frivolous,” attorney

argument is not evidence. Defendant has offered no admissible evidence to refute any of Plaintiff’s

witnesses or exhibits. Further, the right to file grievances against the government is enshrined in

the First Amendment. In fact, the entire Bill of Rights exists to ensure individual protections from

the government. A court’s decision to dismiss a case on issues of equitable relief should not be a

basis for sanctions. The right to petition for redress of grievances is crucial—and it does not give

rise to sanctions. Moreover, Justice Thomas’ most recent dissent in a case about election fraud

during the 2020 election negates any question regarding the legitimacy of the election integrity

cases filed by Plaintiff. Determining that there was a compelling interest in addressing such cases,

he writes:

       In short, the postelection system of judicial review is at most suitable for garden-
       variety disputes. It generally cannot restore the state of affairs before an election.
       And it is often incapable of testing allegations of systemic maladministration, voter
       suppression, or fraud that go to the heart of public confidence in election results.
       That is obviously problematic for allegations backed by substantial evidence. But
       the same is true where allegations are incorrect. After all, “[c]onfidence in the
       integrity of our electoral process is essential to the functioning of our participatory
       democracy.” Purcell, supra, at 4, 127 S. Ct. 5, 166 L. Ed. 2d 1; cf. McCutcheon v.


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       Federal Election Comm’n, 572 U. S. 185, 191, 206-207, 134 S. Ct. 1434, 188 L.
       Ed. 2d 468 (2014) (plurality opinion) (identifying a compelling interest in rooting
       out the mere “appearance of corruption” in the political process). An incorrect
       allegation, left to fester without a robust mechanism to test and disprove it, “drives
       honest citizens out of the democratic process and breeds distrust of our
       government.” Purcell, supra, at 4, 127 S. Ct. 5, 166 L. Ed. 2d 1.

Republican Party of Pennsylvania v. Degraffenreid, 141 S. Ct. 732, 737 (2021) (Thomas, J.,

dissenting).

       Further, to prove election fraud, one has to show the election results would have been

altered but for the fraud. Griffin v. Burns, 570 F.2d 1065, 1075 (1st Cir. 1978). The First Circuit

proposed the following guide for determining whether a particular challenge to a state election

practice constitutes one of the extraordinary cases in which federal intervention is appropriate:

       If the election process itself reaches the point of patent and fundamental unfairness,
       a violation of the due process clause may be indicated and relief under § 1983
       therefore in order. Such a situation must go well beyond the ordinary dispute over
       the counting and marking of ballots ….… (Federal courts have properly intervened
       when) the attack was, broadly, upon the fairness of the official terms and procedures
       under which the election was conducted.

Griffin, 570 F.2d at 1077-78. The First Circuit had no difficulty in finding that disqualification of

absentee ballots previously offered by election officials represents “broad-gauged unfairness” that

called for a new election. 570 F.2d at 1078. (See also, Duncan v. Poythress, 657 F.2d 691, 708

(5th Cir. 1981)).

       Moreover, the Court of Appeals for the Seventh Circuit in Kasper held that “casting (or

approval) of fictitious votes can violate the Constitution and other federal laws,” and that for the

purposes of Section 1983, it is sufficient to allege that this conduct was permitted pursuant to a

state “‘policy” of diluting votes that “may be established by a demonstration” state officials who

“despite knowing of the practice, [have] done nothing to make it difficult.” Kasper v. Bd. of

Election Com’rs of the City of Chicago, 814 F.2d 332, 344 (7th Cir. 1987). This “policy” may



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also lie in the “design and administration” of the voting system that is “incapable of producing an

honest vote,” in which case “[t]he resulting fraud may be attributable” to state officials “because

the whole system is in [their] care and therefore is state action.” Id. The state action requirement

is thus clearly met for the Respondents’ conduct described above.

       And further, as a practical matter, the Help America Vote Act (“HAVA”) has since

followed, which governs federal elections and federal courts have jurisdiction over injunctive and

declaratory relief. Plaintiff brought Fourteenth Amendment and Equal Protection Claims, Amend.

XIV and a 42 U.S.C. § 1983 claim and Plaintiff asserted that: “[t]he disparate treatment of

Wisconsin voters, in subjecting one class of voters to greater burdens or scrutiny than another,

violates Equal Protection guarantees because the right of suffrage can be denied by a debasement

or dilution of the weight of a citizen’s vote just as effectively as by wholly prohibiting the free

exercise of the franchise.” Reynolds v. Sims, 377 U.S. 533, 555 (1964); Rice v. McAlister, 268 Ore.

125, 128, 519 P.2d 1263, 1265 (1975); Heitman v. Brown Grp., Inc., 638 S.W.2d 316, 319, 1982

Mo. App. LEXIS 3159, at *4 (Mo. Ct. App. 1982); Prince v. Bear River Mut. Ins. Co., 2002 UT

68, ¶ 41, 56 P.3d 524, 536-37 (Utah 2002).

       Plaintiff also cited Harper v. Va. State Bd. of Elections, 383 U.S. 663, 665 (1966) that when

a franchise is granted to the electorate, lines may not be drawn which are inconsistent with the

Equal Protection Clause of the Fourteenth Amendment. Indeed, the Supreme Court has held:

       “A State indisputably has a compelling interest in preserving the integrity of its
       election process.” Eu v. San Francisco County Democratic Central Comm., 489
       U.S. 214, 231, 109 S. Ct. 1013, 103 L. Ed. 2d 271 (1989). Confidence in the
       integrity of our electoral processes is essential to the functioning of our
       participatory democracy. Voter fraud drives honest citizens out of the democratic
       process and breeds distrust of our government. Voters who fear their legitimate
       votes will be outweighed by fraudulent ones will feel disenfranchised. “[T]he right
       of suffrage can be denied by a debasement or dilution of the weight of a citizen's
       vote just as effectively as by wholly prohibiting the free exercise of the franchise.”
       Reynolds v. Sims, 377 U.S. 533, 555, 84 S. Ct. 1362, 12 L. Ed. 2d 506 (1964).


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        Countering the State’s compelling interest in preventing voter fraud is the plaintiffs'
        strong interest in exercising the “fundamental political right” to vote. Dunn v.
        Blumstein, 405 U.S. 330, 336, 92 S. Ct. 995, 31 L. Ed. 2d 274 (1972) (internal
        quotation marks omitted).

Purcell v. Gonzalez, 549 U.S. 1, 4 (2006) (per curiam). Id.

        In this case, Plaintiff cited the standard for federal abstention in the voting rights and state

election law context, and cited Harman v. Forssenius, 380 U.S. 528, 534 (1965) to make the point

that where the state law in question is not fairly subject to an interpretation which will render

unnecessary or substantially modify the federal constitutional question, it is the duty of the federal

court to exercise its properly invoked jurisdiction. Id. (citation omitted). (ECF 72 at p. 29).

        Plaintiff also argued to the Court, in good faith and reflecting research, that:

        The evidence shows not only that Defendants failed to administer the November 3,
        2020 election in compliance with the manner prescribed by the Wisconsin
        Legislature, but they administered the voter registration, absentee ballot rules, and
        subsequent ballot processing and counting in a manner that facilitated fraudulent
        and illegal voter registration and ballot tabulation by election workers, Dominion,
        Democratic Party officials and activists and other third parties making certain the
        election of Joe Biden as President of the United States. This conduct violated Equal
        Protection and Due Process rights of Plaintiff and other similarly situated voters, as
        well rights under the Wisconsin election laws. See Kasper v. Bd. Of Election
        Com’rs of the City of Chicago, 814 F.2d 332, 343 (7th Cir. 1987) (state officials
        casting (or approving) of fictitious votes can violate the Constitution and other
        federal laws.).

(ECF 72 at p. 11).

        While the Court ruled against Plaintiff, it should also be recognized that in a recent 2020

pre-election case where discovery in fact took place, the U.S. District Court for the Northern

District Court of Georgia found facts supporting significant vulnerability with the Dominion

voting machines, involving state elections and the laws therein, after discovery occurred in that

case:

        Plaintiffs’ challenge to the State of Georgia’s new ballot marking device QR
        barcode-based computer voting system and its scanner and associated software


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       presents serious system security vulnerability and operational issues that may place
       Plaintiffs and other voters at risk of deprivation of their fundamental right to cast
       an effective vote that is accurately counted. While these risks might appear
       theoretical to some, Plaintiffs have shown how voting equipment and voter
       registration database problems during the 2019 pilot elections and again in the June
       and August 2020 primary elections caused severe breakdowns at the polls, severely
       burdening voters’ exercise of the franchise.

Curling v. Raffensperger, Civil Action No. 1:17-cv-2989-AT, 2020 U.S. Dist. LEXIS

188508, *173-174, 2020 WL 5994029 (N. Dist. GA. 2020).

       b.      Standing

       Under Wisconsin law, “[a] vote for the president and vice-president nominations of any

party is a vote for the electors of the nominees.” Wis. Stat. § 8.25. Presidential Electors “have a

cognizable interest in ensuring that the final vote tally reflect[s] the legally valid votes cast,” as

“[a]n inaccurate vote tally is a concrete and particularized injury to candidates such as the

Electors.” Carson v. Simon, 978 F.3d 1051, 1058 (8th Cir. 2020) (affirming that Presidential

Electors have Article III and prudential standing to challenge actions of Secretary of State in

implementing or modifying State election laws); see also McPherson v. Blacker, 146 U.S. 1, 27

(1892); Bush v. Palm Beach Cty. Canvassing Bd., 531 U.S. 70, 76 (2000) (per curiam).

       The existence of a circuit split on standing shows that Plaintiff and counsel had a reasonable

basis for their claims and that their position was not frivolous. In fact, the existence of a circuit

split can defeat a motion for sanctions even if the position taken runs counter to current controlling

authority. See Hunter v. Earthgrains Co. Bakery, 281 F.3d 144, 154-56 (4th Cir. 2002) (vacating

district court order imposing Rule 11 sanctions where other circuits had taken legal position

contrary to controlling Fourth Circuit precedent). Here, by contrast, there was no controlling

Seventh Circuit or Supreme Court authority on elector standing. Plaintiff relied on a recent case

where the Eighth Circuit interpreted the presidential elector provisions of Minnesota law that were


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nearly identical to Wisconsin’s electoral law as giving electors standing under the Electors Clause

to challenge state law violations. Carson v. Simon, 978 F.3d 1051, 1057 (8th Cir. 2020) (affirming

that Presidential Electors have Article III and prudential standing to challenge actions of Secretary

of State in implementing or modifying State election laws). The Third Circuit, dealing with claims

from private citizens and a congressional candidate who lost, not elected Electors, which is what

Defendants and the court relied on, reached a different conclusion in Bognet v. Secy

Commonwealth of Pa., 980 F.3d 336 (3d Cir. 2020).

        In the history of the Curling case, the Eleventh Circuit found standing for the plaintiff

organization. Common Cause Georgia v. Kemp, 347 F. Supp. 3d 1270, 1289 (11th Cir. 2018)

(citing Arcia v. Fl. Sec’y of State, 772 F.3d 1335, 1342 (11th Cir. 2014)). This case further reflects

that in an election case, a voting rights organization had standing derived from its individual

members’ standing because they had an interest in electoral reform and the preservation of the

rights of all citizens to vote in national, state, and local elections. See Id. This is analogous to the

standing each individual Presidential Elector would have in having an interest in ensuring the

Constitutional duty of the Presidential Electors’ votes are preserved in accordance with legality

and the process of the Constitution. The Electors had the right to press their claims that their votes

should be counted by Congress on January 6, as set forth by the Twelfth Amendment. 5

        “A plaintiff seeking to vindicate a public right embodied in a federal statute, however, must



5
 Congress, under Gore as President of the Senate, sought to count the votes under the Twelfth Amendment. Chris
Land & David Schultz, On the Unenforceability of The Electoral Count Act, 13 RUTGERS J.L. & PUB. POL’Y 340,
362.
       Beyond the political fervor in the air of the Hall of the House of Representatives on this day, and
       Democratic expressions of “solidarity” with Vice President Gore, these overruled objections give
       rise today to the fundamental question of whether the ECA is constitutionally enforceable in light
       of the Rules Clause, entrenchment, and the doctrine of non-delegation.”

Id. (Emphasis added).


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demonstrate that the violation of that public right has caused him a concrete, individual harm

distinct from the general population.” Spokeo, Inc. v. Robins, 136 S. Ct. 1540, 1553 (2016)

(Thomas J., Concurring) (citing Lujan v. Defs. of Wildlife, 504 U.S. 555 (1992)).

        Here Plaintiff argued, again in good faith, that he had an individual harm distinct from the

general population: In Wisconsin as in Minnesota, the President and Vice-President are not

directly elected by voters. (ECF 72 at p. 18-19 Plaintiff cited Wis. Stat. § 8.18, Wis. Stat. §8.25.)

Instead, voters elect the Presidential Electors, who in turn elect the President and Vice-President.

A vote for President Trump and Vice-President Pence in Wisconsin was a vote for Plaintiff and

his fellow Republican Presidential Electors. Id. It goes without saying that Presidential Electors

play a unique and central role in Presidential elections, a role expressly spelled out in the Electors

Clause of the U.S. Constitution. Id. As such, election fraud or other violations of state election

law impacting federal Presidential elections, have a unique and distinct impact on Presidential

Electors, and illegal conduct aimed at harming candidates for President similarly injures

Presidential Electors. Id. In American history, there have been dual slates of electors in prior

elections recognized. 6 Further, the Constitution speaks to this process. (See Amendment XII).

        Plaintiff submits that even if this Court is correct on standing, Plaintiff had a good faith

belief that he suffered a concrete and particularized harm, an individual harm distinct from the

general population as Elected Presidential Electors for the State of Wisconsin, with a right to file

a grievance.




6
 See Stephen A Siegel, The Conscientious Congressman’s Guide to the Electoral Count Act of 1887, 56 FLA. L.
REV. 541(2004): see also, Vasan Kesavan, Is the Electoral Count Act Unconstitutional? 80 N.C. L. Rev. 1653
(2002); see also, Nathan L. Colvin & Edward B. Foley, The Twelfth Amendment: A Constitutional Ticking Time
Bomb, 65 U. MIAMI L. REV. 475 (2010).



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        c.      Eleventh Amendment

        Plaintiff respectfully submits that Plaintiff argued in good faith that claims in the Amended

Complaint are not barred by the Eleventh Amendment because the requested relief falls under the

Ex Parte Young, 209 U.S. 123, 159-160 (1908), exemption for a suit against state officials seeking

only prospective equitable relief.

        A pre-election case very much on point in the Eleventh Circuit found that the Eleventh

Amendment did not bar the plaintiffs’ injunctive and declaratory relief sought therein explaining

that:

        Substantively, the Eleventh Amendment provides that “[t]he Judicial power of the
        United States shall not be construed to extend to any suit in law or equity,
        commenced or prosecuted against one of the United States by Citizens of another
        State, or by Citizens or Subjects of any Foreign State.” U.S. Const. amend. XI. As
        applied, the Eleventh Amendment generally bars actions for monetary relief “when
        ‘the state is the real, substantial party in interest.’“ Pennhurst State Sch. & Hosp. v.
        Halderman, 465 U.S. 89, 101, 104 S. Ct. 900, 79 L. Ed. 2d 67 (1984) (quoting Ford
        Motor Co. v. Dep’t of Treasury, 323 U.S. 459, 464, 65 S. Ct. 347, 89 L. Ed. 389
        (1945)). But under Ex parte Young, 209 U.S. 123, 28 S. Ct. 441, 52 L. Ed. 714
        (1908), plaintiffs may sue state officials in their official capacities when they seek
        “prospective equitable relief to end continuing violations of federal law.” Summit,
        180 F.3d at 1336 (emphasis in original). The Supreme Court has explained that Ex
        parte Young “gives life to the Supremacy Clause,” Green v. Mansour, 474 U.S. 64,
        68, 106 S. Ct. 423, 88 L. Ed. 2d 371 (1985), and has armed plaintiffs with the
        “sword” of the “Civil War Amendments” to contest ongoing violations by the
        states, see Edelman v. Jordan, 415 U.S. 651, 664, 94 S. Ct. 1347, 39 L. Ed. 2d 662
        (1974).

        The test for determining whether a suit fits within Ex parte Young’s exception is
        typically “straightforward,” asking only whether the “‘complaint alleges an
        ongoing violation of federal law and seeks relief properly characterized as
        prospective.” Verizon Md., Inc. v. Pub. Serv. Comm’n of Md., 535 U.S. 635, 645,
        122 S. Ct. 1753, 152 L. Ed. 2d 871 (2002) (quoting Idaho v. Coeur d’Alene Tribe
        of Idaho, 521 U.S. 261, 296, 117 S. Ct. 2028, 138 L. Ed. 2d 438 (1997) (O’Connor,
        J., concurring in part and concurring in judgment)). As long as the plaintiff alleges
        ongoing violations of federal law and seeks injunctive or declaratory relief, or both,
        against state officials in their official capacity, plaintiffs usually face no hurdles in
        clearing Ex parte Young.

Curling v. Sec’y of Georgia, 761 Fed. Appx. 927, 931 (11th Cir. 2019).

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        This Court disagreed, but Plaintiff’s claim seeking a temporary restraining order, injunctive

relief and declaratory relief against state officials in their official capacity included relief properly

characterized as prospective, and when the relief requested became moot, Plaintiff immediately

consented to Defendants’ Motion to dismiss the appeal in the Seventh Circuit. (ECF 95).

        d.      Laches and Mootness

        Laches is an equitable doctrine that is necessarily fact dependent. Plaintiff argued that “[to]

establish laches a defendant must prove both an unreasonable delay by the plaintiff and prejudice

to itself.” See, e.g., Lingenfelter v. Keystone Consolidated Indus., Inc., 691 F.2d 339, 340 (7th

Cir.1982) (“If the delay is inexcusable, then the defendant must show prejudice.”) The Court

found Plaintiff therein delayed filing suit for at least six years and offered no excuses for his delay.

        Ordinarily a motion to dismiss is not the appropriate vehicle to address the defense of

laches, Am. Com. Barge Lines, LLC v. Reserve FTL, Inc., 2002 WL 31749171 (N.D. Ill. Dec. 3,

2002) (citing Farries v. Stanadyne/Chicago Div., 832 F.2d 374, 376 (7th Cir. 1987)), because it

depends largely on questions of fact. Id. (quoting 5 Wright & Miller, Federal Practice and

Procedure § 1277 (2d ed. 1987)). Accordingly, most courts have found the defense unsuitable for

resolution at the pleading stage. Id. (citation omitted).

        Defendant Evers relied on Soules v. Kauians for Nukolii Campaign Comm., 849 F.2d 1176,

1180 (9th Cir. 1988), ECF 59 at p. 17, but that case had entirely different facts. There, the Ninth

Circuit held that plaintiff’s Equal Protection claim was barred by laches because they knew the

basis of their claim well in advance of the election, months in advance in fact, Soules, 849 F.2d at

1181, and failed to provide any explanation for their failure to press their claim before the election.




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Id. at 1182. 7 This Court, however, failed to take an in depth look at Soules where the court on

summary judgment and after a consideration of the claim on the merits, recognized an equal

protection claim, but found that it predated the special election by years, and therefore barred under

laches. (See Id.) These facts have no relation to the instant case.

           Moreover, in Porter v. Jones, the Ninth Circuit in a case very much on point explained

that, “[e]lection cases like the present one come within the type of controversy that is “capable of

repetition, yet evading review.” . . . Appellate courts are frequently too slow to process appeals

before an election determines the fate of a candidate. If such cases were rendered moot by the

occurrence of an election, many constitutionally suspect election laws -- including the one under

consideration here -- could never reach appellate review.” Porter v. Jones, 319 F.3d 483, 490 (9th

Cir. 2003) (citing Joyner v. Mofford, 706 F.2d 1523, 1527 (9th Cir. 1983)). In that case, the court

found justiciability – despite the fact that the claims therein arose out of the 2000 election and the

plaintiff was before the Ninth Circuit on the case in 2003. (See Id.).

           As for Plaintiff’s mistaken citation for Swaffer v. Deininger, when Plaintiff’s counsel

finalized the complaint and the filings, he had mistakenly added quotation marks to a statement

that was meant to paraphrase the holding; a regrettable and inadvertent error.

           e.       Evidence included in the Amended Complaint.

           The Amended complaint was carefully written and supported with evidence that also

included public documents, such as Congressional Member Maloney’s letter regarding Smartmatic

and Dominion Voting Systems. On October 6, 2006 Congresswoman Carolyn Maloney called on

Secretary of Treasury Henry Paulson to conduct an investigation into Smartmatic based on its

foreign ownership and ties to Venezuela. (See ECF 9 Am. Compl., Exh. 15). It also cited the State



7
    (ECF 72 at p. 22)

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of Texas’s Secretary of State’s Report on Dominion Voting Systems Democracy Suite 5.5-A

which found significant vulnerabilities to fraud and declined approval (see ECF 9, Am. Compl. ¶

10, n. 1, ¶ 12. (Exhs. 17, 9, 11)).

        Plaintiff cited to an FBI CISA Joint Advisory dated October 30, 2020 that also corroborated

Plaintiff’s claims, where state voter registration data and state registration websites were breached

by foreign cyber-attacks pre-election:

        CISA and the FBI can confirm that the actor successfully obtained voter registration
        data in at least one state. The access of voter registration data appeared to involve
        the abuse of website misconfigurations and a scripted process using the cURL tool
        to iterate through voter records. A review of the records that were copied and
        obtained reveals the information was used in the propaganda video. CISA and FBI
        analysis of identified activity against state websites, including state election
        websites, referenced in this product cannot all be fully attributed to this Iranian APT
        actor. FBI analysis of the Iranian APT actor activity has identified Compromise
        Infrastructure [T1584]) within a similar timeframe, use of IP addresses and IP
        ranges including numerous virtual private network (VPN) service exit nodes which
        correlate to this Iran APT actor (Gather Victim Host Information [T1592)]), and
        other investigative information.

(See ECF 9, Am. Compl. ¶ 69) (emphasis added).

        Plaintiff cited several expert and fact witness opinions, including, but not limited to an

expert analysis by Russ Ramsland reporting the use of an algorithm that causes a spike in the data

feed, which is shown to be an illegal injection of votes to change the outcome, because natural

reporting does not appear in such a way. (See ECF 9, Am. Compl. ¶77). Mr. Ramsland supported

his opinion by showing that the data feed from real-time voting to Scytl, a vote reporting company

used by media that live stream vote counts, was reported with decimal points, which is contrary to

one vote as one ballot. Otherwise, votes would be solely represented as whole numbers (votes

cannot possibly be added up and have decimal places reported). (See ECF 9, Am. Compl. ¶78).

Mr. Ramsland concludes that:

        Based on the foregoing, I believe these statistical anomalies and impossibilities


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       compels the conclusion to a reasonable degree of professional certainty that the
       vote count in Wisconsin, in particular for candidates for President contain at least
       119,430 . . . and up to 384,085 . . . illegal votes that must be disregarded. In my
       opinion, it is not possible at this time to determine the true results of the Wisconsin
       vote for President of the United States.

(ECF 9, Am. Compl. Ex 17, at par 14).

       Plaintiffs also cited other experts. Dr. Briggs holds a Ph.D. from Cornell University in

Statistics, and an M.S., from Cornell University in Atmospheric Science., as well as a B.S., Summa

Cum Laude, from Central Michigan University in Meteorology and Mathematics.                  He has

published over 100 peer reviewed publications. (See ECF 9, Am. Compl., Exhibit 2-F, copy of

Dr. Briggs’ CV). Dr. Briggs concluded that errors affected almost 97,000 ballots in the state of

Wisconsin, with tens of thousands of unrequested ballots being wrongfully counted, returned

ballots not being counted, and others lost or destroyed; and thus concluding that many voters were

disenfranchised. (ECF 9, Am. Compl. ¶ ¶ 46 51).

       Another witness Plaintiff cited demonstrated evidence of foreign interference in the

election through hardware components from companies based in foreign countries with adverse

interests. (Am. Compl. ¶ ¶ 73-75). The witness explains the foreign relationships in the hardware

used by Dominion Voting Systems and its subsidiary Sequoia and explains specifically the port

that Wisconsin uses, which is called Edge Gateway and that is a part of Akamai Technologies

based in Germany. Using AKAMAI Technologies is allowing .gov sites to obfuscate and mask

their systems by way of HURRICANE ELECTRIC (he.net). Specifically,

       Wisconsin has EDGE GATEWAY port which is AKAMAI TECHNOLOGIES
       based out of GERMANY. Using AKAMAI Technologies is allowing .gov sites to
       obfuscate and mask their systems by way of HURRICANE ELECTRIC (he.net).
       China is not the only nation involved in COTS provided to election machines or the
       networking but so is Germany via a LAOS founded Chinese linked cloud service
       company that works with SCYTL named Akamai Technologies that have offices
       in China and are linked to the server [for] Dominion Software.



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(Am. Compl. ¶ 75 (citing Exh. 13, ¶ 21)).

        This analysis is further supported by a public statement by Congressional Representative

Zoe Lofgren, (D-California), Administration Committee Chair Member, who stated, in relevant

part, at a House Hearing in 2020 while referring to Dominion Voting Systems along with the two

other companies Hart Inter-Civic, and Election Systems and Software (ES&S):

        …the companies they represent provide at least 80% of the estimated 350,000
        voting machines in use today reaching over 100 million registered voters. However,
        despite their outsized role and the mechanics of our democracy, some have accused
        these companies …or others suggest there's an insufficient regulatory structure for
        the sector. In the committee's May 2019 hearing on election security, Lawrence
        Norden wrote in his testimony, I quote, there are more federal regulations for
        ballpoint pens and magic markers than there are for voting systems and other parts
        of our election infrastructure. So, there may be more work to do and much for
        Congress to learn about this industry. Many have concerns about voting systems
        with remote access software. And I want to make sure that companies no longer
        sell voting machines that have network capabilities. In 2019, according to a report
        in Motherboard, a group of election security experts, they uncovered that back-end
        election systems in at least ten states despite one company's claims that its systems
        were not. We need also to understand supply chains.

        In December 2019, a study released by a supply chain monitoring company
        showed that one-fifth or 20% of components in a popular voting machine came
        from China-based companies. 8

        Further, this Court could have granted the requested injunctive relief on the pleadings,

without an evidentiary hearing, because Defendants failed to provide any fact or expert witness

testimony whatsoever to rebut Plaintiff’s fact and expert witnesses. (See ECF 72 at p. 9 (citing

Celsis In Vitro, Inc. v. CellzDirect, Inc., 663 F.3d 922, 930-31 (Fed. Cir. 2012) (affirming district

court grant of preliminary injunction that relied on plaintiff s unrebutted expert testimony))).

Moreover, Defendants made no Daubert motions to disqualify witnesses, most likely because



8
  January 9, 2020 House Hearing: Voting system vendors, local election officials and computer science professors
testified on 2020 election security before the House, C-SPAN, https://www.c-span.org/video/?467976-1/2020-
election-security.


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discovery had not occurred; but nevertheless, Daubert motions are filed before determinations on

expert qualifications are made. 9 The validity of an expert’s opinion is not determined by

disparaging and conclusory arguments from opposing counsel or from newspaper articles, as

Evers’ proffers.

         As a fundamental matter, the district court dismissed Plaintiff’s claim on procedural

grounds at the motion to dismiss stage– not based on summary judgment, not after discovery, not

after witnesses were examined, and certainly not after any evaluation of the evidence presented

before the court.

           Another witness proffered by Plaintiff explained the inherent bias at the most senior

levels of Dominion’s management. And while the Defendant attacks Joe Oltmann for his

declaration without genuine basis, nonetheless, other sources confirm the biases of Dominion

Voting’s engineer and senior representative. Specifically, in 2016, Dr. Eric Coomer admitted to

the State of Illinois that Dominion Voting machines can be manipulated remotely. (See ECF 9,

Am. Compl. at ¶91). He has also publicly posted videos explaining how Dominion voting

machines can be remotely manipulated. Id. An examination of his previous public statements has

revealed that Dr. Coomer is highly partisan and even more anti-Trump, precisely the opposite of

what one would expect from the management of a company charged with fairly and impartially

counting votes (which is presumably why he tried to scrub his social media history). (See ECF 9,

Am Compl. at ¶¶ 91-97). Unfortunately for Dr. Coomer, however, a number of these posts have



9
  District courts have a “gatekeeping” obligation to ensure that expert testimony is both relevant and reliable. Fed. R.
Evid. 702; Daubert v. Merrell Dow Pharmaceuticals, Inc., 509 U.S. 579, 113 S. Ct. 2786, 125 L. Ed. 2d 469 (2993);
Lees v. Carthage College, 714 F.3d 516, 521 (7th Cir. 2013). Essentially, the district court must ask three questions
before admitting expert testimony: is the expert qualified, is the expert’s methodology reliable, and will the expert’s
testimony assist the trier of fact in understanding the evidence or determining a fact in issue. Myers v. Illinois Cent.
R.R. Co., 629 F.3d 639, 644 (7th Cir. 2010). In determining relevance and reliability, the party offering the expert
testimony bears the burden of proof. Brown v. Burlington N. Santa Fe Ry. Co., 765 F.3d 765, 772 (7th Cir. 2014)
(citing Lewis v. CITGO Petroleum Corp., 561 F.3d 698, 705 (7th Cir. 2009)).

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been captured for perpetuity. Below is Coomer’s quote which proves his motive and opportunity

to tamper with election results. (See Id; see also, Fed. R. Civ. P. 404(b)):

       If you are planning to vote for that autocratic, narcissistic, fascist ass-hat blowhard
       and his Christian jihadist VP pic, UNFRIEND ME NOW! No, I’m not joking. …
       Only an absolute F[**]KING IDIOT could ever vote for that wind-bag f--k-tard
       FASCIST RACIST F[**]K! … I don’t give a damn if you’re friend, family, or
       random acquaintance, pull the lever, mark an oval, touch a screen for that carnival
       barker … UNFRIEND ME NOW! I have no desire whatsoever to ever interact
       with you. You are beyond hope, beyond reason. You are controlled by fear,
       reaction and bullsh[*]t. Get your shit together. F[***] YOU! Seriously, this
       f[**]king ass-clown stands against everything that makes this country awesome!
       You want in on that? You [Trump voters] deserve nothing but contempt.

(See ECF 9, Am. Compl. at ¶ 93 (July 21, 2016 Facebook post)).

       These facts set forth a pattern of fraud, as described in the Federal Rules of Evidence, R.

404(b). But here the motion to dismiss was granted without discovery or any fact determinations.

       f.      Dismissal on Equitable Grounds Should Not Be Basis for Sanctions.

       Equitable remedies allow that “substantial justice may be attained in particular cases where

the prescribed or customary forms of ordinary law seem to be inadequate.” 27A AM. JUR. 2D

EQUITY § 1 (citing Sec. and Exch. Comm’n v. U.S. Realty & Imp. Co., 310 U.S. 434, 60 S. Ct.

1044, 84 L. Ed. 1293 (1940)). By its very nature, equitable claims are heavily fact and

circumstance dependent and a particularly bad fit for sanctions when relief is denied. Litigants

must know that they can come to court seeking equitable remedies in unusual disputes, without

fear of sanctions. While equitable defenses, such as laches or mootness, may foreclose relief given

a particular fact pattern, they are not grounds for a court to hold the relief requested is factually or

legally baseless because of the purposefully flexible nature of equity.




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                                      Conclusion

       The mere fact that large and small states could all complete counting votes on the night of

the Presidential Election – but five swing states: Michigan, Arizona, Pennsylvania, Georgia, and

Wisconsin, could not finish their counting until well after November 3, 2020 – and during this

delay, each coincidently changed the lead from Trump to Biden, would alone make one wonder

about election integrity in those states. Indeed, the State of Texas (which was joined by 18 other

state Attorney Generals) asked the United States Supreme Court to set aside Wisconsin’s 2020

election results. [ECF 72, Ex. 2]. Section 1927 sanctions are for multiplied proceedings and

vexatious litigation. This case lasted nine days. Defendant’s motion for sanctions is out of time

and frivolous. It should be denied.

       Respectfully submitted, this 21st day of April 2021.

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